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10
11                       UNITED STATES DISTRICT COURT
12                     CENTRAL DISTRICT OF CALIFORNIA
13
   BRADLEY D. SHARP, as the                Case No. 2:20-cv-08069
14 Permanent Receiver for the Estate of
15 DIRECT LENDING INVESTMENTS,
   LLC, DIRECT LENDING INCOME              COMPLAINT FOR DAMAGES
16 FUND, L.P., DIRECT LENDING
17 INCOME FEEDER FUND, LTD., DLI              1) Professional Negligence;
   CAPITAL, INC., DLI LENDING                 2) Gross Negligence;
18 AGENT, LLC AND DLI ASSETS                  3) Aiding and Abetting Breach of
19 BRAVO, LLC AND THEIR                          Fiduciary Duty;
   SUCCESSORS, SUBSIDIARIES,                  4) Negligent Misrepresentation; and
20                                            5) Breach of Contract
   AND AFFILIATED ENTITIES,
21 and BRADLEY D. SHARP and
   CHRISTOPHER D. JOHNSON, as
22
   Joint Official Liquidators of DIRECT
23 LENDING INCOME FEEDER FUND,             JURY TRIAL DEMANDED
   LTD. (in OFFICIAL LIQUIDATION),
24
25                Plaintiffs,
26
           v.
27
     DUFF & PHELPS, LLC, a Delaware
28

                                                                    COMPLAINT
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 1 limited liability company,
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                  Defendant.
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 1        Plaintiffs Bradley D. Sharp, as the Permanent Receiver (“Permanent
 2 Receiver”) for the Estate of Direct Lending Investments, LLC (“DLI”), Direct
 3 Lending Income Fund, L.P. (“DLIF”), Direct Lending Income Feeder Fund, Ltd.,
 4 (“DLIFF”), DLI Capital, Inc., DLI Lending Agent, LLC and DLI Assets Bravo, LLC
 5 and their successors, subsidiaries, and affiliated entities (collectively “the
 6 Receivership Entities”), and Bradley D. Sharp and Christopher D. Johnson, as Joint
 7 Official Liquidators of DLIFF (in Official Liquidation), hereby allege and complain
 8 against Defendant Duff & Phelps, LLC (“Duff & Phelps” or “Defendant”), as
 9 follows:
10                                 NATURE OF CASE
11        1.    This is an action by the Permanent Receiver and the Joint Official
12 Liquidators (“JOLs,” together with the Permanent Receiver, “Plaintiffs”) against
13 Duff & Phelps for its multiple failures to accurately value the investments DLI
14 managed and for its complicity in the breaches of fiduciary duty committed by
15 Brendan Ross (“Ross”) and entities controlled primarily by him. Specifically, the
16 Plaintiffs bring claims of professional negligence, gross negligence, aiding and
17 abetting breach of fiduciary duty, negligent misrepresentation, and breach of
18 contract.
19        2.    As described in further detail below, DLI hired Duff & Phelps to
20 provide valuations of DLI’s investments. Duff & Phelps provided quarterly valuation
21 ranges for DLI’s assets beginning in October 2016 and monthly valuation reports
22 beginning in October 2018. From the outset of its engagement and through January
23 2019, Duff & Phelps significantly overvalued DLI’s investments, despite having the
24 information necessary to perform accurate valuations. The Plaintiffs estimate that as
25 of November 2018—with Duff & Phelps’s valuation support—DLI’s net asset value
26 was overstated by at least $459.4 million. At times, it seemed as if the sole goal of
27 Duff & Phelps was to prop up DLI’s internal overvaluations, thereby engendering
28 goodwill and preserving an income stream in the form of professional service fees
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 1 from DLI. Duff & Phelps pursued this goal at the expense of faithfully carrying out
 2 its legal duties, eventually causing harm to Plaintiffs and contributing to the collapse
 3 of the Receivership Entities and DLIFF.
 4         3.    Duff & Phelps’s overvaluations were used to increase the amount of
 5 commissions Ross paid himself out of investor funds. Duff & Phelps’s participation
 6 as DLI’s valuation firm was used to lend credibility and respectability to DLI and its
 7 overvaluations. Duff & Phelps was aware that DLI touted that the internal
 8 overvaluations DLI reported to DLI’s investors were subject to “independent” third
 9 party valuations performed by Duff & Phelps. Ultimately, the overvaluations were a
10 substantial factor in creating the circumstances that forced DLI into Receivership and
11 caused hundreds of millions of dollars in losses to Plaintiffs and DLI’s investors. By
12 this action, the Plaintiffs seek to recover damages from Duff & Phelps for the benefit
13 of the Receivership Entities and DLIFF.
14                                     THE PARTIES
15         4.    Plaintiff Bradley D. Sharp is the Permanent Receiver for the Estate of
16 Direct Lending Investments, LLC, Direct Lending Income Fund, L.P., Direct
17 Lending Income Feeder Fund, Ltd., DLI Capital, Inc., DLI Lending Agent, LLC, and
18 DLI Assets Bravo, LLC and their successors, subsidiaries, and affiliated entities
19 (“the Receivership Entities”).
20         5.    Plaintiff Bradley D. Sharp is also a duly appointed Joint Official
21 Liquidator of DLIFF with authority pursuant to orders of the Grand Court of the
22 Cayman Islands and the United States District Court for the Central District of
23 California to liquidate the assets of DLIFF and bring litigation on its behalf.
24         6.    Plaintiff Christopher D. Johnson is a duly appointed Joint Official
25 Liquidator of DLIFF with authority pursuant to orders of the Grand Court of the
26 Cayman Islands to liquidate the assets of DLIFF and bring litigation on its behalf.
27         7.    Plaintiff Bradley D. Sharp is a federally appointed receiver acting
28 pursuant to Federal Rule of Civil Procedure 66, the provisions of 28 U.S.C. §§ 754,
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 1 959, and 1692, as well as this District Court’s April 1, 2019 Preliminary Injunction
 2 and Order Appointing Permanent Receiver (“Receivership Order”) in the United
 3 States District Court for the Central District of California, Case No. 2:19-cv-02188-
 4 DSF-MRW, Securities and Exchange Commission v. Direct Lending Investments,
 5 LLC, Docket Number 10 (“Enforcement Action”).
 6        8.    The Court appointed the Permanent Receiver to marshal and preserve all
 7 assets of the Receivership Entities. The Permanent Receiver is authorized and
 8 empowered to investigate claims and commence legal actions for the benefit and on
 9 behalf of the Receivership Entities as the Permanent Receiver deems necessary and
10 appropriate. The Permanent Receiver brings this action for the benefit and on behalf
11 of DLI, DLIF, DLIFF, and DLI Capital, Inc., as described below.
12        9.    The Cayman Court appointed Bradley D. Sharp and Christopher D.
13 Johnson as JOLs and authorized them to investigate claims and commence claims for
14 the benefit and on behalf of DLIFF, as they deem necessary and appropriate.
15        10.   Duff & Phelps, LLC, is a Delaware limited liability company
16 headquartered at 55 East 52nd Street, New York, New York 10055, with offices in
17 multiple cities throughout the United States, including Los Angeles.
18                                RELATED PARTIES
19        11.   Direct Lending Investments, LLC (“DLI”) is a registered investment
20 advisor, and the general partner of DLI Capital, Inc. (the “Master Fund”), and was
21 responsible for the investment of the Master Fund’s assets. DLI employed a complex
22 master-feeder fund structure and was the investment manager of the feeder funds,
23 Direct Lending Income Fund, L.P. (“DLIF”) and Direct Lending Income Feeder
24 Fund, Ltd. (“DLIFF”) (collectively with DLIF and the Master Fund, the “Funds”).
25 DLI’s principal place of business was in Glendale, California. DLI’s sole member,
26 Brendan Ross, is an individual residing in the County of Los Angeles.
27        12.   DLIF was organized as a Delaware limited partnership on September
28 21, 2012 to operate as a private investment partnership. DLI was the general partner
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                                                                           COMPLAINT
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 1 of DLIF, and Ross was the Chief Executive Officer of DLIF. A number of the
 2 limited partners reside in the State of California, in Los Angeles County.
 3         13.   The Master Fund is a Nevada Corporation with its principal place of
 4 business in Glendale, California.
 5         14.   DLIFF, a Cayman Islands company, was formed to facilitate
 6 investments from non-United States domiciled investors.
 7         15.   DLIF and DLIFF, directed by DLI, invested in a combination of loans
 8 and equity in the Master Fund. The Master Fund, directed primarily by DLI, also
 9 invested in investments through DLI Assets, LLC, a Nevada limited liability
10 company, DLI Assets Bravo LLC, a Nevada limited liability company, and DLI TC,
11 LLC, a Delaware limited liability company.
12         16.   DLI Lending Agent, LLC is a Delaware limited liability company that
13 served as administrative agent with respect to a number of the credit facilities with
14 counterparties in which DLI invested, facilitating the collection of payments, and
15 serving as intermediary between borrowers and lenders.
16         17.   Ross was the founder, 100% owner, managing member, and Chief
17 Executive Officer of DLI, and a member of the board of directors.
18         18.   DLI also was advised by a Board of Directors consisting Ross, DLI’s
19 Chief Investment Officer and two outside directors.
20                             VENUE AND JURISDICTION
21         19.   The Permanent Receiver, Bradley D. Sharp, is a resident of Orange
22 County, California and the duly-appointed federal Permanent Receiver authorized by
23 order of the United States District Court for the Central District of California to
24 marshal and liquidate the assets of DLI, and the other Receivership Entities, and to
25 bring litigation on their behalf.
26         20.   The amount in controversy exceeds this Court’s jurisdictional limit of
27 $75,000.
28         ///
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 1         21.   Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because the
 2 acts and conduct that form the basis of Plaintiffs’ causes of action occurred when
 3 DLI fraudulently offered investments for sale from its headquarters in Glendale,
 4 California, in Los Angeles County, within this District, and conducted the business
 5 of the funds, with the assistance of Duff & Phelps.
 6         22.   This Court has jurisdiction over this proceeding under 15 U.S.C. §
 7 77v(a), and 15 U.S.C. § 78aa because the proceeding is ancillary to the case
 8 Securities and Exchange Commission vs. Direct Lending Investments, LLC, presently
 9 pending before the United States District Court as Case No. 2:19-cv-2188-DSF-
10 MRW.
11         23.   This Court also has jurisdiction over the Defendant because it
12 purposefully availed itself of the benefits of this state by doing business in the State
13 of California such that the United States District Court of California may exercise
14 personal jurisdiction over it, including by providing valuation services to DLI, which
15 was headquartered in Los Angeles County, California, within this District.
16                              FACTUAL ALLEGATIONS
17         24.   DLI is a limited liability company formed in 2012 under the laws of the
18 State of California, with its principal office in Glendale, California. It was founded
19 by Ross, who was the 100% owner of DLI and the Chief Executive Officer of DLI
20 until his resignation on March 18, 2019.
21         25.   DLI’s purported initial investment objective was to net for its investors
22 an annualized 10% to 14% return. It advertised that it could achieve those returns by
23 investing in short-term loans, lines of credit, purchased receivables, or other debt
24 obligations. It focused on loans that originated through online lending platforms.
25         26.   In its early private placement memoranda, DLIF stated to potential
26 investors that the loans in which it invested typically had the following qualities: 1)
27 issued by qualified, established businesses; 2) durations of six to eighteen months; 3)
28 fully amortizing over the term through daily or weekly ACH withdrawals from the
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 1 borrower’s account; 4) may be guaranteed by one or more principals, and 5) may be
 2 secured by the assets of the borrower.
 3        27.    In its initial period of operation, DLI was not registered with the United
 4 States Securities and Exchange Commission (“SEC”) as an investment advisor, and
 5 its assets under management fell below the $100 million threshold for registration.
 6 As such, DLI, which supposedly marketed itself to high-net-worth accredited
 7 investors, was able to avoid regulatory scrutiny regarding the initial period of its
 8 operation.
 9        28.    By December 2014, DLI’s assets under management had reached $100
10 million. By January 1, 2015, the assets under management had grown to $118
11 million. Yet DLI failed to register with the SEC as a registered investment adviser.
12        29.    As a result, DLI was able to continue to operate without scrutiny and
13 oversight by the SEC and its investors were deprived of the protections afforded by
14 the Investment Advisers Act.
15        30.    Finally, on February 1, 2016, DLI registered with the SEC as an
16 investment advisor.
17        31.    DLI advised the Master Fund, which was a vehicle through which two
18 private investments funds invested: an on-shore fund, DLIF; and an off-shore fund,
19 DLIFF.
20        32.    According to its last SEC filing on February 25, 2019, DLI had 27
21 employees and $866 million in regulatory assets under management.
22        33.    DLI was controlled in significant part by Ross, who was one of two
23 members of DLI’s board of directors, along with DLI’s Chief Investment Officer.
24 Ross also primarily controlled DLIF, DLIFF, and the Master Fund. Ross held
25 ownership stakes in a number of counterparties, which were not made public or were
26 concealed through stakes held by family members or family trusts. Because of Ross’
27 equity interests, DLI was not in fact truly independent of these borrowers, and the
28 transactions in which DLI invested were influenced by Ross’s personal interests.
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                                                                           COMPLAINT
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 1        34.    The majority of the assets in which DLI invested were Level 3 assets,
 2 meaning that they were illiquid, and could not be valued through observable
 3 measures, such as market prices. The assets were supposed to be valued at fair
 4 market value. DLI valued the positions internally, on a monthly basis. Through this
 5 internal valuation process, which was largely controlled by Ross, DLI artificially
 6 inflated DLI’s asset values, and in turn, overvalued the fund.
 7        35.    DLI charged clients a monthly management fee, based on 1% of the
 8 Master Fund’s gross asset value, plus beginning of the month subscriptions minus
 9 redemptions. In addition, DLI charged a performance fee when the Master Fund’s
10 net asset value exceeded its prior high net asset value, at the rate of 20% of these
11 earnings before interest and taxes. The net asset value of the Master Fund also served
12 as the basis for calculating monthly returns reported to current and prospective
13 investors. When DLI’s portfolio was overvalued, excess fees were charged due to the
14 way that the fees are calculated.
15        36.    At all relevant time periods, many of DLI’s investment platforms were
16 in financial distress, but DLI’s looming financial difficulties were hidden from most
17 of DLI’s investors. Duff & Phelps supported this continued charade by providing
18 superficial and unreasonably optimistic valuations of those distressed platforms.
19 Duff & Phelps’s Involvement
20        37.    In 2016, Ross sought to grow the size of DLI’s assets by gaining
21 investments from “true domestic institutional investors.” When he would brainstorm
22 with others how to make that happen, the concept that such investors would require a
23 third-party valuation of DLI’s assets was routinely raised. Ross concluded that DLI
24 could address that “without a ton of pain” and immediately identified Duff & Phelps
25 as the valuation firm that suited DLI’s needs.
26        38.    Those needs, from Ross’s perspective, were not exactly what one might
27 usually consider when thinking of third-party valuations. In August 2016, before DLI
28 contacted Duff & Phelps, Ross expressed DLI’s needs in the following way: “Ideally
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  1 the way this work [sic] is that Duff & Phelps will validate our own valuations, not in
  2 real-time, but as a kind of audit function on a quarterly basis.”
  3         39.    Ross described this approach as a “double-check” and when comparing
  4 it to a true independent valuation, he said, “This is probably more convenient, but it
  5 does create something of a problem in that if they were to find a material difference
  6 we’d be in a world of pain trying to restate.”
  7         40.    Ross was not eager about having a third party perform actual
  8 independent valuations. He described the process as “annoying” and stated that he
  9 would like to avoid it.
 10         41.    Ross’s words here are notable because they capture his underlying
 11 desire to have Duff & Phelps’s valuations merely mimic DLI’s valuations and to
 12 avoid having to alter its valuations. Ross sought a “yes man” from a third-party
 13 valuation firm, and Duff & Phelps gladly took on that role. From the beginning, Duff
 14 & Phelps knew that DLI, as primarily controlled by Ross, sought to have its
 15 valuations rubber stamped, and it tailored its approach to satisfy DLI.
 16         42.    After retaining Duff & Phelps, DLI began attempting to capitalize on
 17 the hire by broadcasting to potential investors in its private placement memoranda
 18 that it had a valuation firm in place.
 19         43.    Further, DLI began directly informing its investors about Duff &
 20 Phelps’s role in its regular letters to investors.
 21         44.    In DLI’s February 2017 investor letter, DLI introduced Duff & Phelps:
 22 “Finally, to complement our comprehensive internal valuation approach, we have
 23 retained Duff & Phelps, a global leader in valuation consulting, to provide quarterly
 24 valuation ranges for the fund’s assets. Using their independently formulated
 25 valuation range at the portfolio level, we validate our own methodology. Beyond
 26 simply confirming that our own valuations fall within their given range, we openly
 27 discuss discrepancies and conclusions with their team. Through this open dialogue
 28 on the analysis and inputs employed, we adapt our own process over time.”
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  1        45.    Duff & Phelps initially provided valuation reports quarterly. That
  2 eventually changed to monthly, and coinciding with that change, in its October 2018
  3 investor letter, DLI once again touted Duff & Phelps’s involvement: “As you may
  4 know, the Funds work with Duff & Phelps and Lincoln International to provide an
  5 independent valuation of each of the Fund positions. Duff is one of the preeminent
  6 firms in the third-party valuation space, with over 3,500 professionals in 28
  7 countries. Lincoln is also widely respected, having 500 employees across 20
  8 countries. The reporting we receive from Duff and Lincoln shows a valuation range
  9 for each Fund investment. We use these third-party valuations to provide
 10 independent support for our internal valuation methodologies and conclusions. These
 11 reports are also made available to the Funds’ auditors, Deloitte.”
 12        46.    The following month, when DLI shared its purported monthly return
 13 with its investors, it directly linked it to Duff & Phelps’s valuation: “We have
 14 received our third-party valuation reporting from Duff & Phelps and Lincoln
 15 Partners, and we are able to confirm our previous estimate of 0.75% for the month
 16 ending October 31, 2018 is the final performance return for that month.”
 17 The Engagement Letter
 18        45.    DLI and Duff & Phelps entered into an engagement letter on October
 19 26, 2016 (the “Engagement Letter”). At the outset, Duff & Phelps clearly
 20 acknowledged that its valuation services were “being provided in conjunction with
 21 [DLI’s] preparation and timely completion of certain reporting requirements.”
 22        46.    In the Engagement Letter, Duff & Phelps promised that it would apply
 23 its judgment, in consultation with DLI’s management, to generate a range of fair
 24 value estimates for DLI’s investments. Duff & Phelps further promised to assess the
 25 reasonableness of DLI’s internal cash flow estimates for the investments and that it
 26 would ask for facts and circumstances necessary for the analysis. Duff & Phelps
 27 approved DLI’s calculations and estimates without using professional judgment and
 28 accepted DLI’s unreasonable cash flow estimates.
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  1        47.       Duff & Phelps further agreed that it would use and rely upon not just
  2 information provided by DLI, but also information obtained from various public,
  3 financial, and industry sources. It is not apparent from the reports generated by Duff
  4 & Phelps that it regularly used and relied upon external sources of information.
  5        48.       In preparing its estimates of fair values, Duff & Phelps agreed that it
  6 would use the definition of “fair value” provided by Accounting Standards
  7 Codification (“ASC”) §820 (formerly Statement of Financial Accounting Standards
  8 No. 157, Fair Value Measurements). That definition of fair value is “the price that
  9 would be received to sell an asset or paid to transfer a liability in an orderly
 10 transaction between market participants at the measurement date.” Duff & Phelps did
 11 not adhere to this covenant. As described further herein, DLI and Duff & Phelps
 12 drastically overvalued various of DLI’s investments without concern as to the price
 13 that a market participant would buy or sell the investment.
 14        49.       In the Engagement Letter, Duff & Phelps represented what tasks would
 15 be undertaken in its provision of valuation services to DLI. Among the notable tasks
 16 that Duff & Phelps represented that it would undertake are the following:
 17              •   Meet with relevant members of Management to discuss the valuation
 18                  and related write-ups, to understand your [DLI’s] expectations and
                     intent regarding the Investment, their underlying strategy and
 19                  performance; and to discuss any relevant updates.
 20              •   Consider general economic and industry trends and the impact they may
 21                  have on the Investment.
 22              •   Consider certain other information that is public or supplied by
                     Management that would be relevant to our analysis.
 23
                 •   Review of historical and most recent audited financials, business plans,
 24
                     and management presentations (if available).
 25
                 •   Review individual investment legal documentation.
 26
                 •   Develop an understanding of the terms, rights and priority of all
 27                  Investment(s) and the terms to any external capital structure applied.
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                  •   Develop a comprehensive understanding of performance metrics,
  1
                      including but not limited to: delinquency, default, recovery, and
  2                   prepayment ratios; trends in credit migration; as well as other industry-
                      specific performance metrics.
  3
                  •   Consideration of the Investment’s performance relative to cohort-based
  4
                      expectations at origination.
  5
                  •   Assessment of key developments (i.e., any proposed transaction).
  6
  7         50.       Duff & Phelps failed to meet its obligations in several key respects. As
  8 described further below, Duff & Phelps (i) failed to perform the procedures outlined
  9 in its Engagement Letter in the preparation of its valuations; (ii) made material
 10 mistakes and incorrect statements in the valuations; (iii) made gross errors in
 11 methodology and conclusion of value as to numerous DLI Investments that resulted
 12 in massive overstatement of the value of DLI’s investments; and (iv) failed to
 13 identify, discuss, disclose, analyze, or account for material risks to DLI’s investments
 14 even when Duff & Phelps was aware of those risks or was asked to opine on them.
 15 Duff & Phelps’s Valuation Reports
 16        51. Duff & Phelps charged $3,000 per platform per quarter. Its first
 17 valuation was for the period ending on September 30, 2016. In October 2018, it
 18 shifted to monthly valuation reports, with its last report being for the period ending
 19 on November 30, 2018. After the shift to monthly valuations, Duff & Phelps charged
 20 $2,000 per platform. Duff & Phelps also performed two annual valuations of DLI,
 21 for which it charged $13,500 per valuation. In total, Duff & Phelps prepared 10
 22 valuation reports and charged DLI $664,000 in fees from 2016 to 2018.
 23         52.       Despite the fact that Duff & Phelps was the valuation expert, it showed
 24 a willingness to be guided by DLI and to alter its methodology to meet DLI's
 25 expectations.
 26         53.       For example, early on in the engagement, in December 2016, Duff &
 27 Phelps chose to follow DLI’s thinking regarding forecasting cash flows at a single
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  1 loss rate, rather than performing analysis at the loan level. Ultimately, Duff & Phelps
  2 accepted DLI’s approach of modelling its valuation with a zero loss assumption—
  3 without using its professional judgment to determine independently whether that was
  4 reasonable under the circumstances of each platform.
  5        54.    Whenever Duff & Phelps suggested a range of fair values that did not
  6 comport with DLI’s valuations, Duff & Phelps would work internally to identify
  7 what it could do to bring its valuations into DLI’s predetermined ranges before
  8 preparing a draft valuation report. On one occasion, Duff & Phelps decided to delete
  9 various discount rate information as “not supportive/too low.”
 10        55.    Bizarrely, Duff & Phelps would circulate drafts of each of its valuation
 11 reports to DLI so that DLI could comment on not just the range of fair values and the
 12 methodology Duff & Phelps used to calculate such ranges, but even the actual
 13 language used in the reports to describe the platforms and their risks. DLI would
 14 frequently push Duff & Phelps to alter something to change the valuations.
 15        56.    Duff & Phelps was provided with detailed financial data regarding each
 16 of the investment platforms on a regular basis, including the legal documents
 17 creating the various loans and investments. If it ever determined that it needed
 18 anything else to perform a valuation analysis, DLI would provide it. Despite this
 19 access, Duff & Phelps still managed to dramatically overvalue many of DLI’s
 20 problematic platforms.
 21        57.    During the report preparation and revision process, DLI would at times
 22 call Duff & Phelps’s attention to issues with its investments that Duff & Phelps did
 23 not effectively address. Other times, Duff & Phelps would observe something
 24 troublesome with DLI’s investments, – for example, QuarterSpot’s “large number of
 25 defaulted loans” (which is discussed further below) or that the accrued interest
 26 balances as a percentage of current balance for another investment was “peculiar” –
 27 but it would not act upon those observations by appropriately adjusting its valuation
 28 of the investments downward.
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  1        58.      After receiving DLI’s comments on Duff & Phelps’s reports, Duff &
  2 Phelps would discuss whether DLI was happy or not and what valuations DLI
  3 wanted to be even higher.
  4        59.      When Duff & Phelps eventually finalized its valuation reports, it
  5 represented within them that it had conducted its analyses in a manner that it
  6 obviously did not. In addition to repeating that it had calculated the “fair value” of
  7 DLI’s investments in accordance with ASC §820, it made the following untrue
  8 statements, among others:
  9              • That it had verified the structure and logic of each model and analyzed
 10                 all assumptions to ensure that they provided an adequate representation
 11                 of risks;
 12              • That it had analyzed all assumptions in light of actual and potential risks
 13                 and assessed the relevance of each change in assumptions;
 14              • That it had analyzed all assumptions in light of actual performance of
 15                 the collateral; and
 16              • That it had developed an appropriate valuation approach based on each
 17                 Investment’s characteristics and structure.
 18        60.      At all relevant times, there were individuals within the Receivership
 19 Entities and DLIFF who were not involved with the intentional improper acts and
 20 who were not aware of the full facts and circumstances described herein (the
 21 “Innocent Insiders”). Had the Innocent Insiders been aware of the intentional
 22 improper acts and/or of the full facts and circumstances described herein that Duff &
 23 Phelps overlooked, including but not limited to the gross overvaluation of assets, the
 24 Innocent Insiders would have taken action to protect the interests of the Receivership
 25 Entities and DLIFF and would have implemented changes to prevent them from
 26 sustaining further damages.
 27        VoIP
 28        61.      VoIP was engaged in telecom factoring, the purchasing of receivables of
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                                                                              COMPLAINT
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  1 small “Tier 3” telecom providers, which purportedly had contracts with and
  2 receivables due from “Tier 1” telecom providers.
  3        62.    DLI first invested in VoIP in 2015, providing $32.83 million as of
  4 December 31, 2015, to VoIP on a $50 million revolving loan facility. Over the next
  5 three years, the loan facility increased with balances at fiscal year-end for 2016 and
  6 2017 of $99 million and $180 million, respectively. By February 2019, the principal
  7 loan balance was $191.3 million, representing approximately 25% of DLI’s
  8 aggregate net asset value.
  9        63.    VoIP began to fail in 2017, when a Tier 1 provider—BT Nederlands —
 10 withheld a $20 million payment from a Tier 3 provider that was factoring its
 11 receivables with VoIP due to suspicions that the Tier 3 provider was faking calls and
 12 engaging in money laundering. This caused VoIP to be unable to repay that portion
 13 of DLI’s loan.
 14        64.    Despite the fact that DLI initially appraised the VoIP loans as being at a
 15 low risk of default due to the thought that Tier 1 providers would always pay, DLI
 16 and Duff & Phelps did not lower the valuation, and DLI kept lending money to VoIP.
 17        65.    In its valuation reports, Duff & Phelps concluded that the payments to
 18 DLI are “guaranteed by large Tier 1 telecommunications carriers.” But Duff &
 19 Phelps named none of these supposed Tier 1 companies nor identified any analysis of
 20 the amounts owed by each Tier 1 or the basis for its conclusion that such companies
 21 were credit worthy.
 22        66.    Duff & Phelps’s report as of March 31, 2018, claimed that VoIP’s
 23 performance is “guaranteed by large Tier 1 telecommunications carriers” that have
 24 “strong credit” and contains no disclosure of the $21 million default arising from BT
 25 Nederlands nor any indication that Duff & Phelps evaluated the creditworthiness of
 26 the purported Tier 1 parties.
 27        67.    Duff & Phelps did not address the BT Nederlands situation in reports
 28 until its September 2018 report, and what it did include was misleading. Duff &
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  1 Phelps identified for the first time that VoIP has had an unpaid receivable of $21
  2 million, but failed to indicate that it had been outstanding since early 2017. Duff &
  3 Phelps also conceded that DLI put the $21 million receivable on non-accrual starting
  4 in March 2017, but never explained why Duff & Phelps failed to include that fact in
  5 any of its prior valuations. Yet again, Duff & Phelps chose to abandon professional
  6 judgment and continued to model VoIP with a “zero loss assumption.”
  7        68.    By the end of 2018, two purported Tier 1 providers—Indigo11 and
  8 iKarim—began paying more slowly than usual. These providers eventually stopped
  9 making payments altogether and disappeared, together owing over $160 million. In
 10 December 2018, VoIP ceased making payments to DLI.
 11        69.    VoIP ceased paying DLI in late 2018, and VoIP later filed for Chapter 7
 12 bankruptcy. The bankruptcy filing followed several years after the start of an active
 13 criminal investigation. The criminal investigation led by the Netherlands prosecutor
 14 of VoIP’s telecommunication business and counterparties, ultimately led to criminal
 15 charges against VoIP, its principal, Rodney Omanoff, and associates.
 16        70.    The Plaintiffs estimate that as of November 2018, the effective date of
 17 Duff & Phelps’s last valuation report, DLI and Duff & Phelps had overvalued DLI’s
 18 investment in VOIP by $192.6 million.
 19        Investments H and I1
 20        71.    Consumer Loan Parent is a consumer finance company specializing in
 21 point-of-sale financing. DLI made two investments involving Consumer Loan
 22 Parent, and both were complete failures. First, Consumer Loan Parent promised DLI
 23 a 16% return on a preferred equity investment in a joint venture (“Consumer Loan
 24
 25   1
     The identities of certain counterparties and borrowers have not been disclosed to
 26 avoid prejudicing Plaintiffs’ negotiations, restructuring, and collection attempts.
 27 Duff & Phelps is well aware of the specific identity of the unnamed counterparties
    and borrowers described in this Complaint.
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  1 JV”) that would purchase consumer loans. (DLI’s equity investment in Consumer
  2 Loan JV is referred to herein as “Investment I”). But the promised 16% return far
  3 exceeded the earnings from the loans the Consumer Loan JV purchased. Consumer
  4 Loan Parent, through an affiliate, was supposed to pay the difference between
  5 Consumer Loan JV’s actual profits and the promised return to DLI. Instead, as
  6 Consumer Loan Parent lost money, it obtained a corporate loan from DLI to cover its
  7 losses (DLI’s Corporate loan to Consumer Loan Parent is referred to herein as
  8 “Investment H”). But Consumer Loan Parent did not earn enough to repay the loan
  9 from DLI. Consumer Loan Parent tried to loan its way out of this downward spiral
 10 by borrowing more and more money from DLI, but it never succeeded, and the size
 11 of Investment H simply grew larger.
 12          72.   Duff & Phelps’s valuations of DLI's Investment H in Consumer Loan
 13 Parent reflect an extraordinary degree of incompetence. Far beyond mere
 14 professional negligence, Duff & Phelps’s work product reflected a total lack of care
 15 or competence.
 16          73.   For example, in its first valuation as of September 30, 2016, Duff &
 17 Phelps correctly noted that DLI had a corporate loan to Consumer Loan Parent and
 18 an equity investment in Consumer Loan JV, but then Duff & Phelps wrongfully
 19 combined those two into a single investment and failed to disclose or account for the
 20 differing risks and values associated with each, despite one being a corporate loan to
 21 a parent entity and one being an equity investment in a joint venture that purchased
 22 loans.
 23          74.   Despite obtaining financial information on Consumer Loan Parent
 24 showing significant losses, Duff & Phelps provided no separate valuation of DLI’s
 25 corporate loan to Consumer Loan Parent in many of its valuations. Duff & Phelps
 26 further assumed that Consumer Loan JV would always pay the guaranteed return on
 27 DLI’s preferred equity investment in Consumer Loan JV without any analysis of
 28 whether the purported guarantor had the ability to honor such guaranty. It didn’t.
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  1         75.   Duff & Phelps also modeled its valuation on an assumed stream of cash
  2 payments to DLI without any consideration of DLI’s agreement not to receive cash
  3 returns on its joint venture investment for several years and despite the fact that the
  4 majority of interest owed on Investments H and I was never paid in cash but simply
  5 capitalized. Yet Consumer Loan Parent operated at a substantial loss even while
  6 paying DLI only a small portion of the total interest owed.
  7         76.   Duff & Phelps’s failures to evaluate appropriately DLI’s position in
  8 Investments H and I led to a massive overvaluation. The Plaintiffs estimate that as of
  9 November 2018, the effective date of Duff & Phelps’s last valuation report, DLI and
 10 Duff & Phelps had overvalued DLI’s investment in Investments H and I by at least
 11 $141.8 million.
 12         Investment M
 13         77.   Investment M is a company that was formed in 2017 specifically to
 14 obtain financing from DLI. It acquires and enforces patent rights through litigation—
 15 it is what is colloquially and pejoratively known as a “patent troll.”
 16         78.   DLI and Investment M entered into a credit agreement on May 5, 2017,
 17 that permitted Investment M to borrow up to $100,000,000 from DLI with a loan-to-
 18 value ratio of 80%. At a glance, the credit agreement entered into by the parties
 19 appears standard with regard to its basic nature: DLI would lend money to
 20 Investment M in an amount collateralized by Investment M’s assets. The assets were
 21 Investment M’s patents, and Investment M could borrow up to 80% of their value.
 22 Consequently, how Investment M’s patents were valued is a crucial detail that
 23 directly dictated whether DLI could lend money to Investment M.
 24         79.   Initially, DLI lent Investment M $15,000,000 to purchase an existing
 25 patent portfolio from Investment M’s owner. The original cost-basis for those 55
 26 patents was approximately $1,300,000. DLI saw fit to loan just over 10 times that
 27 cost basis to Investment M—$15,000,000—which Investment M immediate put into
 28 its owner’s pockets.
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  1         80.   On August 2, 2017, DLI and Investment M amended the credit
  2 agreement for the first time. Among other changes, the amendment allowed DLI to
  3 decide in its discretion to allow Investment M to pay interest and other waterfall
  4 costs out of the interest reserve account, allowing Investment M to chug along and
  5 satisfy the payment requirements of the credit agreement even if it were not taking in
  6 revenue.
  7         81.   Approximately a year later, on August 31, 2018, the parties amended the
  8 credit agreement a second time. This was an even more dramatic change than the
  9 first amendment. It permitted Investment M to use loan proceeds not just for patent
 10 infringement litigation costs for the first time, but also, it also permitted Investment
 11 M to use loan proceeds to pay the interest on the loan. In other words, Investment M
 12 was permitted to borrow money from DLI to pay its obligations to DLI, making a
 13 default by Investment M a virtual impossibility.
 14         82.   Duff & Phelps noted both amendments in its valuation reports, but the
 15 mentions were mere window dressing. It described the first amendment entirely
 16 superficially, completely missing what impact the amendment could have on
 17 Investment M’s borrowing, and more importantly, what the amendment suggested
 18 was the current state of Investment M’s financial affairs.
 19         83.   Shockingly, even though it reviewed the second amendment, Duff &
 20 Phelps simply cut-and-pasted its previous superficial language from its description of
 21 the first amendment, making its description entirely incorrect. Duff & Phelps was
 22 aware that Investment M was borrowing money from DLI in order to be able to make
 23 its required payments to DLI and made no adjustments to its analysis. In fact, it
 24 continued to repeat the same hollow words about how Investment M “continues to
 25 perform and has maintained compliance since origination” even though it had earned
 26 no significant revenue and was capitalizing its interest payments.
 27         84.   While Investment M’s efforts were initially wholly confined to the
 28 United States, after it began its relationship with DLI, foreseeable changes to U.S.
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  1 law forced it to shift its patent enforcement strategy almost entirely to China shortly
  2 after the loan was initiated. Subsequently, Investment M transferred much of its U.S.
  3 patent portfolio to third parties for no consideration.
  4         85.   DLI apparently decided to treat this massive change to Investment M’s
  5 business model as one that did not require any new scrutiny. It does not appear that
  6 DLI altered its valuation of Investment M in any real way. Likewise, despite the fact
  7 that China was developing its intellectual property legal system and that there was no
  8 real data to which one could look to predict the results of future litigation efforts,
  9 Duff & Phelps rubber-stamped DLI’s valuations, even modelling DLI’s portfolio
 10 with a zero loss assumption.
 11         86.   DLI had no experience in litigation funding, and it had no familiarity
 12 with investing in or in assigning values to intellectual property. Despite DLI
 13 characterizing the patents owned by Investment M as collateral, it did not assign
 14 value to those patents based upon a traditional fair market value, but rather, an
 15 assigned value based upon a prediction about how much Investment M could receive
 16 in a settlement from an alleged infringer. DLI assigned values to the patents based
 17 upon one overriding principle: historical performance by Investment M’s
 18 management supported the prediction that management will continue to have good
 19 judgment in selecting what patents to acquire. Duff & Phelps apparently latched onto
 20 this concept and asked DLI to see Investment M’s owner’s historical track record.
 21         87.   In fact, Duff & Phelps incorrectly determined that Investment M was
 22 overcollateralized and reduced the discount rate it chose to apply to its predicted cash
 23 flows by 1%, further increasing its valuation of DLI’s loan portfolio. Duff & Phelps
 24 elected to accept wholly patent valuations from another firm, which admitted on their
 25 face that they were superficial and disclaimed reliability by noting that the firm “has
 26 not analyzed the patents or the claim charts with any significant level of detail.”
 27         88.   In looking at DLI’s predicted cashflows from Investment M, the only
 28 way Duff & Phelps was able to accept them was to ignore that DLI was lending the
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  1 money to make the predicted payments and to assume that when the credit facility
  2 matured, Investment M would refinance with someone else and pay off the amount
  3 owed to DLI.
  4        89.    Duff & Phelps used various benchmarks to calculate its range of fair
  5 values, but it applied poor judgment or no judgment in choosing the benchmarks,
  6 instead applying whatever helped it reach its predetermined conclusions. It used
  7 identical benchmarks for both the Biz2Credit platform and the Investment M
  8 platform, with identical weightings. This makes little sense. Biz2Credit provided
  9 online credit to small businesses, collateralized by their future receivables;
 10 Investment M was a litigation funding company that attempted to monetize patents
 11 through litigation.
 12        90.    From Between May 2017 and September 2018, DLI lent almost
 13 $60,000,000 to Investment M. At the time that the Permanent Receiver was
 14 appointed over DLI, Investment M owed approximately $57,000,000 in principal,
 15 plus interest of approximately $8,900,000—a total of approximately $66,000,000.
 16 The Plaintiffs estimate that as of November 2018, the effective date of Duff &
 17 Phelps’s last valuation report, DLI and Duff & Phelps had overvalued DLI’s
 18 investment in Investment M by at least $52.1 million.
 19        QuarterSpot
 20        91.    QuarterSpot, Inc. (“QuarterSpot”) was an online small business lender.
 21 DLI funded thousands of QuarterSpot loans and was entitled to the principal and
 22 interest payments made by the underlying borrowers, subject to QuarterSpot taking a
 23 servicing fee that was a set percentage of the loan interest collected each month.
 24        92.    QuarterSpot was not sustainable due to a high default rate on the
 25 underlying loans. To disguise QuarterSpot’s defaults, Ross falsely reported returns.
 26 Specifically, Ross concealed the performance of the loans by falsifying payment
 27 figures to make it appear that payments had been made by borrowers when they had
 28 not been. He secretly directed QuarterSpot, as part of its monthly reporting to DLI, to
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  1 “rebate” a portion of its servicing fees by making payments to DLI, giving the false
  2 impression that borrowers were making principal payments on seriously delinquent
  3 loans.
  4          93.   Under DLI’s valuation policy, many of these non-performing loans
  5 should have been marked down 50% or 100% but instead were valued at par because
  6 of the false payments.
  7          94.   As a result, between spring 2014 and fall 2017, DLI cumulatively
  8 overstated the valuation of the QuarterSpot position by at least $53 million and
  9 materially misrepresented its returns. DLI collected at least $5-6 million in extra
 10 management and performance fees from the Funds that it would not have otherwise
 11 been able to collect.
 12          95.   In March 2019, upon discovering Ross’s misconduct with respect to
 13 QuarterSpot after an internal investigation, a committee of senior DLI executives
 14 demanded that Ross formally resign and relinquish control of DLI, to which he
 15 acquiesced.
 16          96.   Duff & Phelps observed red flags in QuarterSpot’s loan tapes, even
 17 noting at one point that various loans were changed from being described as in
 18 default to merely just late. Duff & Phelps failed to alter its analysis in the face of
 19 these red flags.
 20          97.   In December 2016, Duff & Phelps circulated its draft report. DLI
 21 asserted that Duff & Phelps made a mistake relating to QuarterSpot, because DLI
 22 showed $1.7 million in defaults while the Duff & Phelps report showed $14.5 million
 23 in defaults. DLI ultimately suggested that it gave the wrong loan tapes to Duff &
 24 Phelps, and provided updated tapes, claiming that QuarterSpot tracked down a
 25 "handful of payments" that were scheduled to post on a bank holiday.
 26          98.   After Duff & Phelps used the revised data, its valuation went up, and it
 27 observed internally that DLI would “be pretty happy with that change.”
 28          ///
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  1         99.   Again, Duff & Phelps willingly chose to ignore the writing on the wall
  2 and did not appropriately account for the risk associated with the platform. Instead,
  3 Duff & Phelps stated that “it [QuarterSpot] sounds like the issues appears [sic] to just
  4 be a ‘reporting issue with a young/growing platform.’”
  5         Investment TS
  6         100. Investment TS is a Los-Angeles based “fix and flip” real estate
  7 acquisition company that has worked in distressed real estate assets since 1985.
  8 Investment TS was one of the largest investments made by DLI. It also represented
  9 one of the most significant departures from DLI’s stated investment philosophy of
 10 generating current income through small business loans.
 11         101. In July 2015, DLI committed $100,000,000 to Investment TS, and
 12 despite slow repayments and deficient collateral, it accelerated its credit commitment
 13 to Investment TS over time. Specifically, DLI loaned more than $230,000,000 to
 14 Investment TS, through two special vehicles: Investment T and Investment S
 15 (collectively, the “Investment TS Facilities”).
 16         102. Investment T supposedly was secured by the collateral of the residential
 17 real estate "fix and flip" properties, and a personal guaranty from Guarantor in the
 18 amount of $100 million. Other than accepting the guaranty from Guarantor, DLI
 19 appears to have done little due diligence into Guarantor’s ability to pay at the time of
 20 its commitments.
 21         103. Duff & Phelps rubber-stamped DLI's overvaluation of Investment TS by
 22 (1) ignoring or providing excuses for Investment TS’s poor financial condition; (2)
 23 failing to consider whether there was a realistic chance that Investment TS would
 24 repay its loans to DLI; and (3) blindly and erroneously relying on Guarantor’s ability
 25 to cure Investment TS’s under-collateralization.
 26         104. There were obvious red flags relating to Investment TS’s financial
 27 condition. Most notably, Investment TS’s capitalized interest was added to its loan
 28 principal, its collateral was overvalued, it experienced declining sales, and it was
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  1 using funds supplied by DLI to acquire more properties as its other properties aged.
  2        105. By April 30, 2016, Investment T’s balance sheet reflected a net loss of
  3 $13,217,006.11 and accrued interest of $7,684,726.97. Investment T’s financial
  4 picture was worsening, and the likelihood that Investment TS was going to repay the
  5 facility was diminishing.
  6        106. Despite Investment T’s worsening financials, Duff & Phelps’s valuation
  7 as of September 30, 2016, painted an optimistic picture. Duff & Phelps stated,
  8 “D&P’s analysis of Investment TS’s historical return on investment suggests that a
  9 loss is highly unlikely.” Duff & Phelps further stated that (1) Investment TS typically
 10 had a five- to six-month turnover of properties and 25 to 35 percent annualized
 11 returns, and (2) Investment TS’s principal had personally guaranteed the loans “with
 12 his substantial assets.” However, Duff & Phelps’s description of Guarantor’s assets
 13 as “substantial” was vague and without foundation. An asset check of Guarantor
 14 would have revealed that Guarantor lacked the liquid assets to support the guaranty.
 15        107. By December 31, 2017, Investment S’s financial statements should have
 16 raised red flags. Specifically, Investment S’s audited financial statements for 2017
 17 reflected a member deficit of -$4,574,216. Furthermore, Investment S’s sales from
 18 May 30, 2017 through December 31, 2017 were $29,766,445, and its expenses were
 19 $34,110,040, for a net loss of $4,343,595. Moreover, in its Statement of Cash Flows
 20 for the same period, cash flows from operating activities were -$4,343,595, and net
 21 borrowing from the revolving line of credit was -$107,588,045. The net increase in
 22 cash from financing activities was $2,713,826. In other words, Investment S’s cash
 23 was coming from financing, not operations.
 24        108. Despite the availability of financial documents illustrating Investment
 25 S’s financial condition, Duff & Phelps simply stated in its valuation as of September
 26 30, 2017, that it “considered the proximity of the funding date to the Valuation Date”
 27 and that “[given] only a few months have elapsed since the funding date, and
 28 significant cash floor surveillance is not yet available, D&P has valued the
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  1 [Investment S] Fund Portfolio on a cost basis.”
  2        109. Throughout its engagement with DLI, Duff & Phelps’s valuations took
  3 shortcuts and ignored or excused red flags related to Investment TS’s poor financial
  4 condition. In fact, there were instances in which Duff & Phelps simply copied
  5 statements from one report to another. For example, the aforementioned statement
  6 regarding Guarantor’s “substantial assets” appeared in Duff & Phelps’s valuations
  7 until its final valuation, dated November 30, 2018, with no apparent attempts to
  8 confirm or update the statement’s accuracy. As an example of excusing Investment
  9 TS’s poor financials, Duff & Phelps acknowledged in its report that although the
 10 Investment TS Facilities were undercollateralized, the guarantor “is currently
 11 working in good faith to resolve this situation with a solution that may include,
 12 among other things, adding additional collateral, sale of properties, and/or
 13 monetization of other personal assets of the guarantor.” Despite this statement, it
 14 does not appear that Duff & Phelps examined whether the listed means to cure the
 15 under-collateralization were viable.
 16        110. Duff & Phelps’s valuation analysis should have raised alarms relating to
 17 Investment TS. Instead, bolstered by Duff & Phelps's valuations, DLI continued to
 18 pour significant amounts of its investors’ funds into Investment TS. The Plaintiffs
 19 estimate that as of November 2018, the effective date of Duff & Phelps’s last
 20 valuation report, DLI and Duff & Phelps had overvalued DLI’s investment in the
 21 Investment TS Facilities by $48.5 million.
 22           COLLAPSE OF DLI AND THE FUNDS AND SUBSEQUENT
 23                                  RECEIVERSHIP
 24        111. On February 11, 2019, DLI informed investors that DLIF and DLIFF
 25 had suspended withdrawals and redemptions effective February 8, 2019. DLI cited
 26 the delinquency of the VoIP obligor payments on a $192 million loan as the reason
 27 for the suspension. For the first time, DLI informed investors that the Dutch
 28 government had been investigating VoIP since 2017, and that the cessation of
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  1 payments was likely a result of undetermined misconduct, that a substantial portion
  2 of the outstanding $160 million loan balance might not be recoverable.
  3        112. On March 19, 2019, DLI informed investors that another of its
  4 positions, QuarterSpot, may have been materially overstated for a period of years.
  5 DLI further disclosed that following DLI’s management committee’s request that he
  6 take a leave of absence, Ross had formally resigned all of his positions with DLI on
  7 March 18, 2019, and ceded control to the management committee.
  8        113. The acts and omissions of Duff & Phelps contributed to the SEC’s filing
  9 of the Enforcement Action against DLI in March of 2019.
 10        114. The SEC’s complaint against DLI alleged that DLI had engaged in a
 11 multi-year fraud—perpetuated through Ross—that resulted in approximately $11
 12 million in over-charges of management and performance fees to fund investors, and
 13 the inflation of DLI’s private funds’ returns.
 14        115. On April 1, 2019, the Court entered the Receivership Order.
 15        116. The Receivership Order authorized the Permanent Receiver to “institute,
 16 pursue, and defend all claims and causes of action of whatever kind and nature which
 17 may now or hereafter exist as a result of the present or past employee or agents of the
 18 Receivership Entities.”
 19         117. On May 13, 2019, the Permanent Receiver filed an ex parte emergency
 20 application in the Enforcement Action for authority from the Court to commence a
 21 voluntary liquidation proceeding for DLIFF in the Cayman Island and to request that
 22 the Permanent Receiver be authorized to be one of the co-liquidators of DLIFF in the
 23 Cayman Islands.
 24         118. On May 14, 2019, this Court granted the ex parte application by its
 25 Order, Docket Number 43.
 26         119. On June 14, 2019, Bradley D. Sharp and Christopher D. Johnson, as
 27 JOLs, filed a petition to place DLIFF’s liquidation under the supervision of the
 28 Cayman Court.
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  1        120.   On July 25, 2019, the Cayman Court ordered that DLIFF’s liquidation
  2 continue under the supervision of the Cayman Court and appointed the Permanent
  3 Receiver and Christopher D. Johnson as the JOLs.
  4        121. Wherefore, the Plaintiffs now plead and assert the following claims on
  5 behalf of DLI, DLIF, DLIFF, the Master Fund, and DLI Assets Bravo, LLC:
  6                             FIRST CAUSE OF ACTION
  7                                Professional Negligence
  8        122. Plaintiffs repeat and incorporate by reference each of the prior
  9 allegations in this Complaint, as set forth above.
 10        123. Duff & Phelps formed a professional relationship with DLI in 2016,
 11 under which Duff & Phelps agreed to provide valuation services.
 12        124. Duff & Phelps’s services continued at least through January 28, 2019.
 13        125. As a result of that professional relationship, Duff & Phelps owed DLI a
 14 duty to act in accordance with standards of care ordinarily provided by valuation
 15 firms providing valuation services.
 16        126. Duff & Phelps’s conduct fell below the applicable standard of care
 17 because it failed to use the skill and care that a reasonable valuation firm would have
 18 used under similar circumstances.
 19        127. Duff & Phelps failed to exercise the ordinary care, skill, and diligence
 20 by, among other things, making material mistakes and incorrect statements in the
 21 valuations; making gross errors in methodology and conclusion of value as to
 22 numerous DLI investments that resulted in massive overstatement of the value of
 23 DLI's investments; and failing to identify, discuss, disclose, analyze, or account for
 24 material risks to DLI's investments, even when Duff & Phelps was aware of those
 25 risks or was asked to opine on them.
 26        128. Duff & Phelps knew that its valuations would be relied upon by DLI
 27 and the Receivership Entities in conducting their business and that it owed a duty of
 28 care to DLI to exercise the ordinary care, skill, and diligence that a reasonably
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  1 careful valuation firm would have used under similar circumstances.
  2        129. Duff & Phelps’s valuations and related representations and work were
  3 relied upon by DLI, DLIFF, and the Receivership Entities.
  4        130. Duff & Phelps’s negligent conduct was a substantial factor in causing
  5 harm to the Receivership Entities and DLIFF.
  6        131. As a direct and proximate result of Duff & Phelps’s negligent conduct
  7 described above, the Receivership Entities and DLIFF have been harmed in an
  8 amount to be determined at trial.
  9                            SECOND CAUSE OF ACTION
 10                                     Gross Negligence
 11        132. Plaintiffs repeat and incorporate by reference each of the prior
 12 allegations in this Complaint, as set forth above.
 13        133. Duff & Phelps’s conduct described above evinces a reckless disregard
 14 for the rights of DLI, DLIFF, and the Receivership Entities, and such conduct
 15 directly and proximately caused harm to the Receivership Entities and DLIFF in an
 16 amount to be determined at trial.
 17        134. Duff & Phelps’s actions were undertaken with the awareness of the
 18 probable dangerous consequences of its conduct, and Duff & Phelps willfully and
 19 deliberately failed to avoid those consequences. Plaintiffs should be awarded
 20 punitive damages sufficient to punish Duff & Phelps and to deter similar conduct in
 21 the future.
 22                             THIRD CAUSE OF ACTION
 23                    Aiding and Abetting Breach of Fiduciary Duty
 24        135. Plaintiffs repeat and incorporate by reference each of the prior
 25 allegations in this Complaint, as set forth above.
 26        136. Defendant aided and abetted Ross’s breaches of his fiduciary duties to
 27 DLI, DLIFF, and the Receivership Entities. Additionally, Defendant knew of the
 28 relationship among the Receivership Entities and that DLI owed a fiduciary duty to
                                            27
                                                                          COMPLAINT
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  1 the Master Fund, DLIF, and DLIFF. Defendant knew that Ross and DLI breached
  2 their fiduciary duties and provided substantial assistance in committing the primary
  3 breaches of fiduciary duty. Defendant knew Ross and DLI earned fees from high
  4 valuations. Defendant knew that DLI’s investments were overvalued, elected to
  5 ignore warning signs that indicated overvaluation, and even assisted in supporting
  6 the overvaluations to enable Ross, his personal entities, and DLI to continue to
  7 collect high fees in violation of duties owed to the Master Fund, DLIF, and DLIFF.
  8         137. Accordingly, Defendant knowingly participated in the fiduciary
  9 breaches by Ross and DLI and is liable to Plaintiffs for damages caused to the
 10 Receivership Entities and DLIFF in an amount to be determined according to proof
 11 at trial.
 12                            FOURTH CAUSE OF ACTION
 13                              Negligent Misrepresentation
 14         138. Plaintiffs repeat and incorporate by reference each of the prior
 15 allegations in this Complaint, as set forth above.
 16         139. Defendant made numerous false and misleading representations about
 17 the value of various investments. DLI, DLIF, DLIFF, the Master Fund, and the other
 18 Receivership Entities reasonably relied on these representations regarding value.
 19 They also reasonably relied on the ongoing statements of Defendants. The
 20 Receivership Entities and DLIFF’s reliance on Defendant’s false and misleading
 21 representations was a substantial factor in causing their harm.
 22         140. Further, Defendant made false statements of value knowing that the
 23 valuations were required for a particular purpose, that others outside of the
 24 Engagement Letter were relying to their detriment on the accuracy of Defendant’s
 25 valuations, and Defendant failed to take reasonable care to make sure that its
 26 statements were accurate.
 27         141. As a result of the Defendant’s conduct, the Receivership Entities and
 28 DLIFF have suffered and continue to suffer economic losses, in an amount to be
                                            28
                                                                         COMPLAINT
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  1 determined according to proof at trial.
  2                              FIFTH CAUSE OF ACTION
  3                                      Breach of Contract
  4          142. Plaintiffs reallege and incorporate herein by reference each and every
  5 allegation in all the preceding paragraphs as if fully set forth herein.
  6          143. The Engagement Letter contains binding agreements by Defendant.
  7          144. DLI did all of the significant things the Engagement Letter required it to
  8 do and duly performed all covenants, obligations, and conditions required to be
  9 performed by and under the Engagement Letter.
 10          145. Defendant has failed to perform its part of the Engagement Letter
 11 agreement. Specifically, among other things, Defendant failed to do the following:
 12                   a. Defendant failed to apply its judgment, in consultation with DLI’s
 13                      management, in generating a range of fair value estimates for
 14                      DLI’s investments.
 15                   b. Defendant failed to assess the reasonableness of DLI’s internal
 16                      cash flow estimates for the investments.
 17                   c. Defendant failed to ask for facts and circumstances necessary for
 18                      its analysis.
 19                   d. Defendant failed to use and rely upon not just information
 20                      provided by DLI, but also information obtained from various
 21                      public, financial, and industry sources.
 22                   e. Defendant failed to use the definition of “fair value” provided by
 23                      ASC §820 in rendering its services.
 24          146. As a direct result of Defendant’s breach, the Receivership Entities and
 25 DLIFF have sustained damages, in an amount to be determined according to proof at
 26 trial.
 27                                 PRAYER FOR RELIEF
 28     Wherefore, Plaintiffs respectfully request that the Court enter judgment:
                                              29
                                                                               COMPLAINT
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